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          Exhibit D
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                                                 U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      The Jacob K. Javits Federal Building
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278




                                                      August 9, 2024

BY EMAIL
Sean S. Buckley
Steven G. Kobre
Alexandria E. Swette
Ana Frischtak
Kobre & Kim LLP
800 Third Avenue
New York, New York 10022

       Re:         United States v. Charlie Javice and Olivier Amar, 23 Cr. 251 (AKH)

Dear Counsel:

        We write in response to your July 15, 2024 expert notification regarding defense-
designated experts (the “Expert Notice”). For the reasons set forth below, the Expert Notice does
not comply with Rule 16’s requirement that the Expert Notice must provide “a complete statement
of all opinions that the defendant will elicit from the witness in the defendant’s case-in-chief” and
“the bases and reasons for them.” See Rule 16(b)(1)(C)(iii). These deficiencies undermine the
Government’s ability to challenge the admissibility of the proffered experts’ testimony and to
prepare for trial. Accordingly, the Government requests that the defendant supplement his expert
disclosures to address the deficiencies identified below.

Dr. Maxime Cohen

       First, the Expert Notice states that Dr. Cohen will rely, in part, on his “research and
publications.” Please identify that research and those publications. Please also identify Dr.
Cohen’s “experience consulting with companies” that will inform his proffered opinions.

        Second, the Expert Notice states that Dr. Cohen reviewed “portions of the discovery.”
Please identify those portions of discovery by Bates number. Please also disclose whether Dr.
Cohen interviewed Amar or any other individual in connection with his work. If so, please identify
the information supplied by Amar or any other individual to Dr. Cohen.

       Third, the Expert Notice with respect to Dr. Cohen is insufficient because it does not
adequately state Dr. Cohen’s opinions or the bases for them. For example:

              •   The Expert Notice vaguely refers to “industry standards” or “common components
                  of a data validation exercise” without identifying what those “standards” or
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               “components” are, and why, and on what basis, they are standard or common
               across the industry.

           •   The Expert Notice states the “practice of purchasing data from third party
               providers” “is a common practice in the tech industry,” without stating the basis
               for this opinion.

           •   The Expert Notice states that it “relatively common for tech start-ups to lack
               consistent organization and data storage,” without stating the basis for this opinion.

           •   The Expert Notice states that it is “an established practice” to use synthetic data in
               the “tech industry,” without stating the basis for this opinion.

Professor Steven Davidoff Solomon

       First, the Expert Notice states that Professor Solomon “may rely upon his own research
and publications.” Please identify that research or those publications.

        Second, the Expert Notice states that Professor Solomon reviewed “portions of the
discovery.” Please identify those portions of the discovery by Bates number. Please also disclose
whether Professor Solomon interviewed Amar or any other individual in connection with his work.
If so, please identify the information supplied by Amar or any other individual to Professor
Solomon.

       Third, the Expert Notice with respect to Professor Solomon is insufficient because it does
not adequately state Professor Solomon’s opinions or the bases for them. For example:

           •   The Expert Notice refers to “unusually ‘seller friendly’” terms of the Merger
               Agreement without identifying the specific terms to which Professor Solomon
               refers or the basis for his conclusion that they were “seller friendly.”

           •   The Expert Notice refers to various documents related to the Merger Agreement,
               including internal JPMC correspondence, as reflecting deliberate decisions by
               personnel at JPMC to forego representations on Frank’s user base, without
               identifying the referenced documents by Bates number.

           •   The Expert Notice states that “JPMC had access to all books and records and assets
               of Frank that they desired or requested” without stating the basis for that opinion.


Professor Scott Meadow

       First, the Expert Notice states that Professor Meadow may rely on “upon his own
research and publications, research and publications authored by others, and publicly available
data sources.” Please identify the research, publications, and publicly available data upon which
Professor Meadow will rely.
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       Second, the Expert Notice states that Professor Meadow reviewed “portions of the
discovery.” Please identify those portions of the discovery by Bates number. Please also
disclose whether Professor Meadow interviewed Amar or any other individual in connection
with his work. If so, please identify the information supplied by Amar or any other individual to
Professor Meadow.

       Third, the Expert Notice with respect to Professor Meadow is insufficient because it does
not adequately state Professor Meadow’s opinions or the bases for them. For example:

        •   The Expert Notice refers to an “industry-standard due diligence process,” without
            identifying what that process is or the basis for concluding that it is standard across
            the industry.

        •   The Expert Notice states that that “[t]here was no apparent effort by JPMC to reconcile
            apparent inconsistencies across documents in the Frank data room,” but fails to
            identify the inconsistencies or the documents (by Bates number) on which that opinion
            was based, as well as the basis for his opinion that JPMC made no effort to reconcile
            any such inconsistencies.

        •   The Expert Notice states that Professor Meadow has an opinion concerning “Frank’s
            historical financial performance” compared to “JPMC’s projections of Frank’s future
            financial performance,” without identifying what those projections were, or whether
            Professor Meadow prepared his own assessment of Frank’s financial performance.

        •   The Expert Notice also vaguely refers to a “large market penetration” “implied” by
            Frank’s representation that it had 4.25 million customers using its FAFSA tool without
            further detail on Professor Meadow’s opinion on what market penetration of 4.25
            million customers implied.

        •   The Expert Notice states that Frank “operated in a space with low barriers to entry,”
            without identifying what those barriers were. It further states that the Frank faced
            various uncertainties and risks, without identifying the reasons why Professor Meadow
            believed Frank faced such uncertainties or risks.
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        The Government respectfully requests that the defense provide supplemental disclosures
sufficient to comply with Rule 16 by no later than August 15, 2024.


                                           Very truly yours,

                                           DAMIAN WILLIAMS
                                           United States Attorney

                                       by: /s/        __________
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